         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 1 of 17




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

         v.                                             Case No. 1:21-cr-00582
 MICHAEL A. SUSSMANN,

                Defendant.


       DEFENDANT’S REPLY TO THE SPECIAL COUNSEL’S OPPOSITION TO
            DEFENDANT’S MOTION TO DISMISS THE INDICTMENT

       Defendant Michael A. Sussmann, by and through undersigned counsel, respectfully

submits this reply to the Special Counsel’s Opposition to Defendant’s Motion to Dismiss the

Indictment (the “Opposition”), see Dkt. No. 44.

                                        INTRODUCTION

       In our opening brief in support of Mr. Sussmann’s Motion to Dismiss, we argued that this

is a case of extraordinary prosecutorial overreach. The Special Counsel’s Opposition only further

demonstrates why that is so.

       First, the Special Counsel has not identified a single analogous precedent for this

prosecution. We previously noted that the defense is aware of no case in which an individual has

provided a tip to the government and been charged with making a false statement for something

other than providing a false tip. The Special Counsel has not called the Court’s attention to a single

case (or even failed prosecution) to the contrary.

       Second, the Special Counsel has embraced an almost unbounded theory of materiality that,

aside from being unprecedented, is contrary to the law. We explained that, to be material, an

alleged false statement must affect a discrete decision and must have a sufficient nexus to that



                                                  1
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 2 of 17




decision. The Special Counsel, however, believes that any statement made to any investigative

agency can be material, even where there is no discrete decision to be made and even where there

is no investigation pending. This is not—and cannot be—the law. To accept this view of

materiality would be to read that element out of Title 18, United States Code, Section 1001. But

as the Special Counsel concedes elsewhere, the only reason why Section 1001 is constitutional is

because it has a meaningful materiality limitation in the first place. In the context of a tip, the only

false statement that could be material is a false tip. Because this Indictment charges a statement

ancillary to the tip that Mr. Sussmann provided, it must be dismissed.

       Third, the Special Counsel advances a series of arguments about what the “evidence at

trial” will prove. But the law is clear that this Motion to Dismiss can only be evaluated on the

basis of the allegations in the Indictment. The Special Counsel intentionally included specific

allegations about materiality in his 27-page speaking Indictment. But the Opposition does not

include a single cite to those allegations. Not one. Much as the Special Counsel may now wish to

run from these allegations, he remains bound by them. And they are plainly insufficient as a matter

of law to establish that the purported false statement is material.

       Finally, the Special Counsel’s insensitivity to the constitutional and prudential concerns

raised by this prosecution is jarring. The Special Counsel may believe those concerns are

“fanciful,” but Michael Sussmann—a prominent and respected national security lawyer—now

finds himself on the other side of an unprecedented prosecution brought by a Special Counsel who

has filled his Opposition with concerning rhetoric about “political deceit.” Mr. Sussmann’s

concerns are the opposite of fanciful. They are real. And they further militate in support of

dismissing this unjust and unlawful prosecution of an innocent man.




                                                   2
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 3 of 17




                                             ARGUMENT

        A.      The Special Counsel’s Expansive Theory of Materiality is Inconsistent With
                the Law

        In our opening brief, we explained that a false statement can only be material where it:

(1) concerns a specific governmental decision; and (2) has a sufficient nexus to that specific

governmental decision. See Dkt. No. 39 at 5-11. Applying this standard in the context of tips to

law enforcement, we demonstrated that where, as here, an individual has provided a tip to an

investigative agency and there is no investigation pending, the only false statement that could be

material is a false statement about the subject of the potential investigation, i.e., the false tip itself.

That is why, we noted, there is ample Section 1001 precedent for charging individuals who have

provided a false tip to the government, but there is not a single precedent for charging a tipster

with a false statement other than the false tip.

        The Special Counsel has not meaningfully engaged with or rebutted any of this analysis.

Instead, the Special Counsel has simply argued that: (1) a false statement can be material whenever

it affects a governmental function; and (2) any challenge to the materiality of the false statement

here is premature. These arguments are without merit.

                1.      Materiality requires the identification of both a discrete governmental
                        decision and a sufficient nexus to that decision.

        To be sure, and as we pointed out in our opening brief, D.C. Circuit law generally provides

that a false statement can be material where it affects either a specific governmental decision or a

specific function of the agency “to which it was addressed.” See Dkt. No. 44 at 6; see also United

States v. Moore, 612 F.3d 698, 701 (D.C. Cir. 2010). But the Special Counsel is simply wrong to

suggest that where an individual has provided a tip to an investigative agency, a “false statement

survives long past the initiation of an investigation and encompasses the means and methods of an

investigation.” Dkt. No. 44 at 6.


                                                    3
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 4 of 17




       For one thing, the Special Counsel has not cited a single case or single precedent in support

of that extravagant claim—not a single case providing that a statement made prior to the initiation

of an investigation can be material to the subsequent conduct of an investigation. That in and of

itself is telling. But it is also unsurprising, as this claim runs contrary to the very words of the

standard that the Special Counsel has cited and relied on. Where, as alleged here, a purported false

statement was directed toward prompting an agency to initiate an investigation in the first place,

there is no legally significant difference between the governmental “decision” affected by the false

statement and the governmental “function.” That is, the decision at issue is whether or not to

initiate an investigation, and the function at issue is likewise the potential initiation of an

investigation. Put another way, the potential initiation of an investigation is the only agency action

or function “to which [the purported false statement] was addressed.” See Dkt. No. 44 at 5 (citation

omitted); see also United States ex rel. Morsell v. Symantec Corp., 130 F. Supp. 3d 106, 123 n.16

(D.D.C. 2015) (describing Moore, 612 F.3d at 701, as holding that “‘a statement is material if it

has a natural tendency to influence, or is capable of influencing’ an agency’s action”).

       Thus, for all the reasons set forth in our opening brief, where an individual has provided a

tip to an investigative agency, the false statement can be material only where: (1) it concerns the

specific governmental decision—or function—to initiate an investigation, see, e.g., United States

v. Creel, 458 F. App’x 412, 414 (5th Cir. 2012) (“To determine materiality under § 1001, we seek

to ascertain . . . the decision that the agency was attempting to make.” (emphasis added) (citation

omitted)); United States v. Stadd, 636 F.3d 630, 638-39 & n.9 (D.C. Cir. 2011) (recognizing Moore

but holding that “[t]he jury charge correctly” defined a “material” statement as one that “has a

natural tendency to influence, or is capable of influencing, the decision of the decision-making

body to which it was addressed” (emphasis added) (citation omitted)); and (2) the statement has a




                                                  4
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 5 of 17




sufficient nexus to that decision or function, see, e.g., United States v. Naserkhaki, 722 F. Supp.

242, 248 (E.D. Va. 1989) (explaining that “[w]here, as here, a misstatement relates to an ancillary,

non-determinative fact, it is not material and cannot support a conviction under Section 1001”)1;

United States v. Facchini, 874 F.2d 638, 643 (9th Cir. 1989) (noting that a “[false] statement

must . . . be capable of having some non-trivial effect on a federal agency”). And the only false

statement that can satisfy this standard in the context of a tip is a false tip itself. See, e.g., United

States v. Hansen, 772 F.2d 940, 949-950 (D.C. Cir. 1985) (holding that because defendant’s

omissions “tended to conceal information that would have prompted investigation or action,” they

met the test of materiality, i.e., “whether the statement ‘has a natural tendency to influence, or was

capable of influencing, the decision of the tribunal in making a [particular] determination’”

(emphasis added) (citation omitted)); United States v. Carrasquillo, 239 F. App’x 634, 635 (2d

Cir. 2007) (Although the government was “not actively investigating whether defendant owned an

unauthorized firearm,” defendant’s false “statement that he had never owned an off-duty firearm

was clearly material . . . as it went to the heart of whether [the defendant] had the means of

engaging in . . . possibly unprofessional conduct,” for which the government “had the authority to

investigate” and which the government then investigated. (emphasis added)). That is why there



1
  The Opposition claims that Naserkhaki was abrogated by the Supreme Court, and cites to United
States v. Dedman, 527 F.3d 577, 599 (6th Cir. 2008) for that premise. See Dkt. No. 44 at 8 n.2.
However, as Dedman explains, this abrogation concerned procedure and not the substance of the
Naserkhaki materiality holding. Specifically, Dedman holds that in cases involving multiple false
statement charges, a Section 1001 conviction may be upheld even if several of the statements at
issue fail to satisfy Section 1001’s materiality requirement as a matter of law. See 527 F.3d at 598-
99 (“If the government alleged three false statements but two lacked sufficient evidence, how do
we know which false statement the unanimous jury used? We are certainly concerned that the jury
may have relied upon an unsupported statement, but our precedent requires that we presume that
the jury used the false statement that was supported by sufficient evidence, and that we uphold a
conviction where there was sufficient evidence for at least one of the alleged false statements.”
(emphases added)). Of course, that holding is wholly irrelevant here, where the Indictment only
alleges one false statement that is immaterial as a matter of law.

                                                   5
          Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 6 of 17




are legions of false statement cases in which the Department of Justice has charged individuals for

providing a false tip. And that is why the Special Counsel has been unable to cite a single case in

which the Department of Justice has charged a tipster for making a false statement other than a

false tip itself.2

        At bottom, the Special Counsel is advancing a theory that would render material any false

statement made to any investigative agency at any time—even one that has no nexus to any

hypothetical government function. That standard is inconsistent with Section 1001’s insistence on

materiality; that standard is inconsistent with precedent; and that standard must be rejected as a

matter of law.




2
  In an attempt to downplay the weight of this authority, the Special Counsel observes that these
cases “involved post-conviction appeals or motions to vacate the conviction after the Government
presented its case at trial.” Dkt. No. 44 at 7. That observation misses the mark. What is critical
is not when courts have vacated false statement convictions, but the fact that, absent a sufficient
nexus (or close connection) between the alleged false statement and the specific governmental
decision at issue, a false statement charge cannot stand. And none of the cases cited in the
Opposition proves otherwise, as each concerned discrete and specific functions that the false
statements could influence—not, as here, ancillary false statements that concern abstract
government “functions.” See United States v. Alemany Rivera, 781 F.2d 229, 235 (1st Cir. 1985)
(The function implicated by the defendant’s false statement was HUD’s “disbursement of escrow
monies not to the true vendors of the equipment, but to [vendors affiliated with the defendant]”);
United States v. Lichtenstein, 610 F.2d 1272, 1278-79 (5th Cir. 1980) (The function implicated by
the defendant’s false statements was the “proper designation on the proper export declaration
forms” of certain goods, which “would have allowed evasion of the requirement that goods
actually being laden as export cargo be listed on the ship’s outward manifest . . . .”); United States
v. White, 270 F.3d 356, 366 (6th Cir. 2001) (False statements in a plant’s monthly report “could
and did lead to the [Environmental Protection Agency’s] seizure of other plant records which
demonstrated more severe instances of noncompliance over a longer period of time . . . .”); United
States v. Moore, 446 F.3d 671, 681 (7th Cir. 2006) (Defendant’s false statements on a “contract to
obtain HUD block grant funds” affected the administration of those specific funds); United States
v. Calhoon, 97 F.3d 518, 530 (11th Cir. 1996) (Defendant’s false statements as to reimbursable
costs on a cost report “were sufficient . . . to authorize reimbursement without further
investigation” and therefore impacted a specific function “as to reimbursability of the costs.”).

                                                  6
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 7 of 17




                 2.    It is proper to test the sufficiency of the Indictment at this stage of the
                       proceedings.

       The Special Counsel has also argued that Mr. Sussmann’s materiality challenge is

premature and makes the stunning claim that that every question of materiality must be presented

to a jury. See Dkt. No. 44 at 7. Not so. It is black-letter law that a party may move to dismiss an

indictment for “failure to state an offense,” Fed. R. Crim. P. 12(b)(3)(B)(v), including for an

indictment’s failure to allege an essential element, see, e.g., United States v. Ezeta, 752 F.3d 1182,

1184 (9th Cir. 2014) (“Dismissal of an indictment is appropriate when it fails to recite an essential

element of the charged offense.”).

       Of course, in an ordinary case, a defendant cannot meaningfully bring a pretrial challenge

to a Section 1001 indictment on materiality grounds. After all, on a motion to dismiss an

indictment for failure to state an offense, a court can only look at the facts alleged in an indictment.

See United States v. Montgomery, 2021 WL 6134591, at *2 n.1 (D.D.C. Dec. 28, 2021) (“[T]he

Court’s analysis of [d]efendants’ motion to dismiss . . . must be limited to ‘the four corners of the

indictment.’” (citation omitted)); see also United States v. Harmon, 474 F. Supp. 3d 76, 87 (D.D.C.

2020) (“Adherence to the language of the indictment is essential because the Fifth Amendment

requires that criminal prosecutions be limited to the unique allegations of the indictments returned

by the grand jury.” (citation omitted)). And in an ordinary case, few facts are actually alleged in

an indictment.

       But this is no ordinary case. Here, the Special Counsel asked the grand jury to return a 27-

page speaking indictment containing extensive allegations about why Mr. Sussmann’s purported

statement is material. See, e.g., Indictment ¶ 5 (alleging that the purported false statement was

material because it “misled the [Federal Bureau of Investigation (“FBI”)] General Counsel and

other FBI personnel concerning the political nature of his work and deprived the FBI of



                                                   7
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 8 of 17




information that might have permitted it more fully to assess and uncover the origins of the relevant

data and technical analysis, including the identities and motivations of Sussmann’s clients”); id.

¶ 32 (alleging that the purported false statement was material because “it was relevant to the FBI

whether the conveyor of these allegations . . . was providing them as an ordinary citizen merely

passing along information, or whether he was instead doing so as a paid advocate for clients with

a political or business agenda” because that information “might have prompted further questions”).

        Because the Special Counsel chose to include extensive allegations about materiality in the

Indictment, it is altogether proper and fitting for Mr. Sussmann to ask the Court to evaluate whether

these allegations are sufficient as a matter of law. See, e.g., United States v Hooker, 841 F.2d

1225, 1227 (4th Cir. 1988) (“[I]n testing the sufficiency of an indictment, it is the statement of

facts in the pleading, rather than the statutory citation that is controlling.” (internal alterations and

quotation marks omitted)); United States v. Hall, 20 F.3d 1084, 1087 (10th Cir. 1994) (explaining

that “[a]n indictment should be tested solely on the basis of the allegations made on its face” and

“[c]ourts should refrain from considering evidence outside the indictment when testing its legal

sufficiency.”). They plainly are not. Thus, Mr. Sussmann has plenty to work with in bringing a

materiality challenge to the Section 1001 Indictment filed against him. And there is no reason for

Mr. Sussmann to wait to bring such a challenge.

        B.      The False Statement Charged Is Immaterial As A Matter Of Law

        The Special Counsel next argues that Mr. Sussmann’s purported false statement was

material to the FBI’s initiation of an investigation and material to the FBI’s conduct of the

investigation. Again, his arguments are without merit. And in any event, it is not necessary to

even reach these arguments because the Special Counsel has not chosen to charge the only false

statement that could be material in the tip context, namely, the false tip itself.




                                                   8
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 9 of 17




       With respect to the initiation of an investigation, the Special Counsel seeks to establish that

Mr. Sussmann’s supposed false statement was material not by referring to any of the allegations

actually included in the Indictment, but by making a series of grand claims about what the evidence

at trial will show. Amazingly, the Special Counsel does not include a single citation to the

allegations in the Indictment. Not one. Instead, the Special Counsel repeatedly invokes proof he

expects to introduce at trial. See, e.g., Dkt. No. 44 at 9 (“[T]he Government expects that evidence

at trial will prove that the FBI could have taken any number of steps prior to opening what it terms

a ‘full investigation’ . . . .” (emphases added)); id. at 10 (“[C]ontrary to the defendant’s argument

that a tipster’s ‘motivation’ is insignificant and ‘ancillary,’ the evidence at trial will demonstrate

that a person’s motivation in providing information to the FBI can be a highly material fact in

determining whether and how the FBI opens an investigation . . . .” (citation omitted) (emphases

added)). But as the Special Counsel well knows, the Court “cannot consider facts beyond the four

corners of the indictment.” United States v. Harris, 2006 WL 2882711, at *3 (D.D.C. Oct. 5,

2006); see also United States v. Safavian, 429 F. Supp. 2d 156, 158-59 (D.D.C. 2006) (noting that

the filing at issue “relie[d] heavily on documents that have been produced in discovery,” which

the Court could not “properly consider . . . in evaluating a motion to dismiss the indictment” as

“the Court [is] [un]able . . . to consider matters outside the four corners of the indictment”). The

Court accordingly cannot consider any of the “evidence” the Special Counsel inappropriately

marshals in his Opposition.

       When, by contrast, the Court considers the allegations actually included in the Indictment,

it is clear that the charged false statement did not have any material impact on the FBI’s decision

to initiate an investigation. As we explained in our opening brief, while the Indictment contains a

series of vague allegations about materiality, none of those allegations addresses whether Mr.




                                                  9
        Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 10 of 17




Sussmann’s purported false statement could have influenced the only legally significant decision

at issue—the FBI’s decision whether to investigate the Russian Bank-1 Information.3 At most, the

Indictment alleges that the purported false statement as to Mr. Sussmann’s supposed client

relationships was “relevant” because it “might have” led the FBI to take “additional or more

incremental steps.” Indictment ¶ 32. But relevance alone is insufficient to establish materiality

because “[a] statement may be relevant but not material.” Weinstock v. United States, 231 F.2d

699, 701-02 (D.C. Cir. 1956); see also id. (“To be ‘relevant’ means to relate to the issue. To be

‘material’ means to have probative weight, i.e., reasonably likely to influence the tribunal in

making a determination required to be made.”); United States v. Johnson, 19 F.4th 248, 259 (3d

Cir. 2021) (“At other times, information presented to the government is ‘relevant,’ but ultimately

still immaterial—after all, ‘relevance’ and ‘materiality’ are not synonymous.” (internal quotation

marks omitted) (citation omitted)). And—in any event—the operative governmental decision at

issue is not how the FBI might have conducted its investigation, but whether or not to open that

investigation in the first place. Because the Indictment does not contain any allegations sufficient

to establish the materiality of the purported false statement in relation to that decision—the only

decision that mattered—it must be dismissed.




3
  See, e.g., Indictment ¶ 5 (suggesting that Mr. Sussmann’s purported false statement was material
because it “misled the FBI General Counsel and other FBI personnel concerning the political
nature of his work and deprived the FBI of information that might have permitted it more fully to
assess and uncover the origins of the relevant data and technical analysis, including the identities
and motivations of Sussmann’s clients” (emphasis added)); id. ¶ 6 (detailing what the FBI “might
have learned” had it “uncovered the origins of the relevant data and analysis” (emphasis added));
id. ¶ 32 (alleging that Mr. Sussmann’s purported false statement was material because it was
“relevant” to the FBI whether he was providing the information “as an ordinary citizen” or whether
he was doing so “as a paid advocate for clients with a political or business agenda” because such
information “might have” led the FBI to take some incremental steps (emphasis added)).

                                                10
        Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 11 of 17




       With respect to the conduct of the investigation, the Special Counsel again improperly

resorts to claims about what the evidence at trial will prove. See, e.g., Dkt. No. 44 at 11 (“The

evidence at trial will also establish that the defendant’s false statement had the capacity to

influence the FBI’s conduct of this investigation.” (emphases added)); id. at 12 (“But the

government expects that evidence at trial will establish that the FBI general counsel was aware

that the defendant represented the [Democratic National Committee (“DNC”)] on cybersecurity

matters arising from the Russian government’s hack of its emails, not that he provided political

advice . . . .” (first emphasis added)); id. at 13 (“[T]he government expects that [witnesses] will

testify at trial that . . . .” (emphasis added)). Here too, the Court must ignore these claims and

instead evaluate the Indictment as it is, not as the Special Counsel would, in hindsight, prefer it to

be. See Harris, 2006 WL 2882711, at *3 (“Although [a party] may prove such facts at trial, this

Court cannot consider facts beyond the four corners of the indictment.”). Moreover, these claims

that the investigation may have been conducted in an incrementally different matter are wholly

irrelevant to the only decision at issue—whether or not to initiate an investigation.

       Even if the manner in which the FBI conducted its investigation were relevant—and it is

not—the Indictment still fails to establish materiality. Notably, the Indictment does not allege that

the purported false statement had any actual impact on the outcome of the investigation or that the

substantive information Mr. Sussmann provided was false.            Instead, the allegations in the

Indictment and Opposition amount to little more than the Special Counsel’s unsupported and

speculative opinion that the FBI could have taken marginally different investigative steps. But

such baseless speculation cannot transform an immaterial statement into a material one. See

Facchini, 874 F.2d at 643 (noting that a “false statement must . . . be capable of having some non-

trivial effect on a federal agency”); see also People v. Klages, 2021 WL 6059601, at *10 (Mich.




                                                 11
        Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 12 of 17




Ct. App. Dec. 21, 2021) (explaining that materiality “requires proof of something more than an

investigator’s unsupported and speculative opinion that he may have asked different questions,

particularly absent evidence that the ‘material fact’ had any reasonable possibility of influencing

the decision that matters”). And interpreting materiality to encompass the Special Counsel’s

unspecified allegations that the FBI could have conducted its investigation in a negligibly different

way “would fling open the door to prosecuting every trivial misstatement (or trivial falsehood)

offered during a [government] investigation” despite the fact “that a [defendant] deceives no one

and [the defendant’s] statement bears no importance whatsoever to the ultimate outcome of the

investigation.” People v. Simon, 2021 WL 6059599, at *16 (Mich. Ct. App. Dec. 21, 2021)

(Gleicher, J., concurring). That is not—and cannot be—the law.

       Moreover, as the Indictment itself acknowledges and the Opposition reiterates, the FBI was

already aware of the “political nature” of Mr. Sussmann’s work. See, e.g., Indictment ¶ 9 (“In

connection with his representation of the DNC as the victim of a hack, [Mr. Sussmann] met and

communicated regularly with the FBI, the DOJ, and other U.S. government agencies.”); id. ¶ 28

(“Michael Sussman[n] – Atty: [Law Firm-1] . . . Represents DNC, Clinton Foundation, etc.”); Dkt.

No. 44 at 12. The Special Counsel suggests that “the FBI General Counsel was aware that the

defendant represented the DNC on cybersecurity matters . . . not that he provided political advice

or was participating in the Clinton Campaign . . . .” Dkt. No. 44 at 12. But this is a distinction

without a difference. The important point is that the FBI was aware that Mr. Sussmann represented

the DNC—which is precisely what the Indictment itself makes clear. Indeed, the Indictment

alleges that the FBI General Counsel was fully aware of Mr. Sussmann’s representation of the

DNC and purported affiliation with Hillary Clinton and supposedly conveyed that information to

the Assistant Director of the FBI’s Counterintelligence Division when describing who Mr.




                                                 12
           Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 13 of 17




Sussmann is. See Indictment ¶ 28 (“Michael Sussman[n] – Atty: [Law Firm-1] . . . Represents

DNC, Clinton Foundation, etc.”).

       The Opposition’s reliance on Brogan v. United States, 522 U.S. 398 (1998) does not

compel a different conclusion. See Dkt. No. 44 at 12. If anything, Brogan supports Mr.

Sussmann’s Motion here. In Brogan, the Court considered whether an individual can be charged

under Section 1001 for falsely answering “no” to a question asking whether he has committed a

crime. 522 U.S. at 401. Specifically, the petitioner argued that liability could not attach to such

an “exculpatory no” because only statements that “pervert governmental functions” can give rise

to Section 1001 liability. Id. The Court rejected that argument because it “cannot imagine how it

could be true that falsely denying guilt in a Government investigation does not pervert a

governmental function.” Id. at 402. And the Court’s reasoning underscores why the false

statement charged here is immaterial as a matter of law. The Court stated that “[c]ertainly the

investigation of wrongdoing is a proper governmental function; and since it is the very purpose of

an investigation to uncover the truth, any falsehood relating to the subject of the investigation

perverts that function.” Id. Here, however, Mr. Sussmann’s purported false statement does not

relate “to the subject of the investigation.” Id. There was no investigation to begin with and the

only statement that could be charged in connection with a provision of a tip is the false tip itself.

Since the alleged false statement is completely ancillary to the tip that Mr. Sussmann provided,

Mr. Sussmann’s purported false statement is, for all the reasons provided, immaterial as a matter

of law.4




4
  Further, contrary to the Special Counsel’s suggestion, Mr. Sussmann is not arguing that
materiality turns on the credulousness of investigators. Rather, Mr. Sussmann is arguing that
because he had otherwise made the FBI aware of his representation of partisan clients, that impacts
whether the purported false statement about other the existence of another partisan client could

                                                 13
        Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 14 of 17




       At bottom, nothing in the Opposition cures the Indictment’s failure to establish the

materiality of Mr. Sussmann’s purported false statement. Much as the Special Counsel may now

wish to ignore the allegations in the Indictment, he is bound by them and cannot cure the

Indictment’s shortcomings with a brief that advances new allegations as to ways in which the FBI

could have initiated or conducted its investigation differently. See United States v. Ring, 628 F.

Supp. 2d 195, 204 (D.D.C. 2009) (stressing that at the motion to dismiss stage, “the Court ‘cannot

consider facts beyond the four corners of the indictment’” (citation omitted)). Moreover, even

assuming the Special Counsel could prove all the new allegations in the Opposition at trial, it

would not change the fact that a statement that is ancillary to the substance of a tip is immaterial

as a matter of law.

       C.      The Special Counsel’s Theory of Materiality Raises Serious Constitutional and
               Other Concerns

       In our opening brief, we argued that the theory of materiality advanced by the Special

Counsel undermines the critical limiting function that this essential element is intended to serve

and creates risks including: (1) overcriminalization; (2) chilling First Amendment speech; and

(3) chilling legal advocacy.

       First, the Special Counsel does nothing to address the ways in which his expansive reading

of materiality would foster overcriminalization. Indeed, in his Opposition, the Special Counsel

doubles down on his capacious reading of materiality, suggesting that any statement made to any

investigative agency at any time can give rise to a federal felony. See Dkt. No. 44 at 6. It is not

at all clear that the Special Counsel concedes that there is any limitation on the kinds of false

statements that can be charged.



truly be “capable of influencing an agency’s action.” Symantec Corp., 130 F. Supp. 3d at 123 n.16
(internal quotation marks omitted).

                                                14
        Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 15 of 17




       Second, the Special Counsel dismisses the First Amendment concerns we raised by arguing

that materiality protects against the chilling of constitutional speech. See Dkt. No. 44 at 14.

According to the Special Counsel, materiality ensures that Section 1001 “only criminalizes those

false statements and lies that are particularly likely to cause harm.” Id. But materiality provides

no such protection from First Amendment concerns when that element is rendered ineffective by

being defined so broadly that any statement made to any investigative agency at any time can be

considered material. On the contrary, if the Special Counsel’s expansive view of materiality

prevails, well-intentioned people with truthful information about suspicious activity or potential

criminal wrongdoing would be discouraged from providing tips to law enforcement for fear of a

felony prosecution under Section 1001.        Such concern would be more than justified: the

government could always argue (like the Special Counsel is doing in this case) that, but for an

ancillary false statement, it might have taken some different step or asked some different

question—and the government could bring felony charges as a result. What reasonable law-

abiding citizen would wish to voluntarily provide a tip to the government when the consequence

of being a good citizen could be an indictment?

       Third, the Special Counsel also dismisses as “fanciful” the idea that this Indictment could

have a chilling effect on day-to-day communications between lawyers and the government. Dkt.

No. 44 at 15. But here, the Special Counsel has not only brought an unprecedented prosecution—

charging a tipster for a false statement other than the tip itself—but has brought such an

unprecedented prosecution against a well-respected national security lawyer. If this Indictment

does not have a chilling effect on advocacy by lawyers interacting with investigative agencies in

the federal government, it is not clear what would. The law, and this Court, should protect a sphere

of advocacy whereby lawyers can engage the FBI and other law enforcement agencies on behalf




                                                15
         Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 16 of 17




of their clients without fear of felony prosecution over innocuous, ancillary statements made

during those interactions with the government. And that is why the law already has protections in

place to safeguard zealous advocacy by lawyers, such as the litigation privilege, which broadly

immunizes lawyers for making defamatory statements concerning others in judicial and quasi-

judicial proceedings, see Messina v. Krakower, 439 F.3d 775, 760 (D.C. Cir. 2006); and

Section 1001 itself, which provides that the criminal prohibition does “not apply to a party to a

judicial proceeding, or that party’s counsel . . . .” 18 U.S.C. § 1001(b).

                                         CONCLUSION

        This is a case of extraordinary prosecutorial overreach. And that overreach is inconsistent

with the law, with common sense, and with important constitutional and other prudential concerns.

For all the foregoing reasons, the one-count Indictment against Mr. Sussmann must be dismissed

for failure to state an offense.




                                                 16
       Case 1:21-cr-00582-CRC Document 48 Filed 03/11/22 Page 17 of 17




Dated: March 11, 2022                 Respectfully submitted,

                                      /s/ Sean M. Berkowitz
                                      Sean M. Berkowitz (pro hac vice)
                                      LATHAM & WATKINS LLP
                                      330 North Wabash Avenue
                                      Suite 2800
                                      Chicago, IL 60611
                                      Tel: (312) 876-7700
                                      Fax: (312) 993-9767
                                      Email: sean.berkowitz@lw.com

                                      Michael Bosworth (pro hac vice)
                                      LATHAM & WATKINS LLP
                                      1271 Avenue of the Americas
                                      New York, NY 10020
                                      Tel: (212) 906-1200
                                      Fax: (212) 751-4864
                                      Email: michael.bosworth@lw.com

                                      Natalie Hardwick Rao (D.C. Bar # 1009542)
                                      Catherine J. Yao (D.C. Bar # 1049138)
                                      LATHAM & WATKINS LLP
                                      555 Eleventh Street, NW
                                      Suite 1000
                                      Washington, DC 20004
                                      Tel: (202) 637-2200
                                      Fax: (202) 637-2201
                                      Email: natalie.rao@lw.com
                                      Email: catherine.yao@lw.com




                                     17
